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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              AT BECKLEY


UNITED STATES OF AMERICA

v.                                            CRIMINAL NO. 5:17-113-02

DETRIA CARTER



                       MEMORANDUM OPINION AND ORDER

     Before the court is defendant, Detria Carter’s Motion to

Amend Conditions of Bond.       See ECF No. 452.       Following a hearing

on December 12, 2017, Magistrate Judge Omar J. Aboulhosn

released Detria Carter on a $25,000.00 unsecured bond.               See ECF

No. 415.   Detria Carter’s Conditions of Release placed her in

the custody of Bridget Gray, her cousin, who resides in Beckley,

West Virginia.       In the instant motion, defendant’s counsel

states that Bridget Gray is the sister of a co-defendant in this

matter, Rashaun Carter.       As a result, Detria Carter’s probation

officer has requested that she find a different location to

reside.    To comply with the terms of her bond, Detria Carter

requests this court amend her conditions of bond to allow her to

reside at 305 Bostic Avenue, Beckley, West Virginia, 25801.                See

ECF No. 452.    The government does not object to defendant’s

motion.
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     For good cause shown, the court GRANTS defendant’s motion

to amend the conditions of her bond to (1) allow Detria Carter

to reside at 305 Bostic Avenue, Beckley, West Virginia, 25801

and (2) remove Detria Carter from the custody of Bridget Gray.

All other conditions of bond set forth in the Conditions of

Release remain in place.

     The Clerk is directed to send a copy of this Memorandum

Opinion and Order to counsel of record, the United States

Marshal for the Southern District of West Virginia, and the

Probation Office of this court.

     It is SO ORDERED this 12th day of January, 2018.

                             ENTER:



                              David A. Faber
                              Senior United States District Judge
